    Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 1 of 7 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

 PATRICIA SWITZER                             §
                                              §
                PLAINTIFF                     §
                                              §
 vs.                                          §                CIVIL ACTION NO.
                                              §
                                              §
 LOREN TIMOTHY BEACH and                      §         DEFENDANT'S NOTICE OF
 BEACH TRANSPORT, INC.                        §               REMOVAL
          DEFENDANTS                          §

                                 NOTICE OF REMOVAL

       Defendants, LOREN TIMOTHY BEACH and BEACH TRANSPORT, INC., file this

Notice of Removal pursuant to 28 USC § 1446(a) and Local Rule CV-81 of the United

States District Court-Eastern District of Texas.

                                              I.

                                   LOCAL RULE CV-81

       1.     The style of the case exactly as it was styled in state court is: Cause No. A-

201134; Patricia Switzer v. Loren Timothy Beach and Beach Transport, Inc.; In the District

Court of Jefferson County, Texas, 581h Judicial District.

       2.     Defendants request a jury trial. A separate Jury Demand pursuant to Local

Rule CV-38 will be filed concurrently with this Notice of Removal.

       3.     All parties in the case, party type and current status are:

                     a) Patricia Switzer, Plaintiff, pending

                     b) Loren Timothy Beach, Defendant, pending

                     c) Beach Transport, Inc., Defendant, pending
    Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 2 of 7 PageID #: 2




       4.     A Civil Cover Sheet is being filed concurrently with this Notice of Removal.

Copies of all pleadings, process, orders, and other filings in the state court suit are

attached to this notice as required by 28 U.S.C. § 1446 (a). See Exhibit A.

       5.     A complete list of attorneys involved in the action being removed are:

              Ronald M. Estefan
              Texas Bar No. 00785851
              The Estefan Law Firm, PC
              2306 Mason Street
              Houston, Texas 77006
              Tel: (713) 333-1100
              Fax: (713) 333-1101
              Email: ron@ronestefanlaw.com
              Attorney for Plaintiff, Patricia Switzer

              David W. Medack
              Texas Bar No. 13892950
              Heard & Medack, PC
              9494 Southwest Freeway, Suite 700
              Houston, Texas 7707 4
              Tel: (713) 772-6400
              Fax: (713) 772-6495
              Email: DMedack@heardmedackpc.com
              Attorney for Defendants, Loren Timothy Beach and Beach Transport, Inc.

       6.     Plaintiff's First Amended Original Petition does not include a request for a

jury trial. Defendants hereby request a trial jury.

       7.     The action being removed is pending in the District Court of Jefferson

County, Texas, 58th Judicial District, Jefferson County Courthouse, 1149 Pearl Street,       lI
Beaumont, Texas 77701, Hon. W. Kent Walston, Presiding.                                      I
                                                                                             I
                                                                                             '
                                                                                             !
                                              II.

                    INTRODUCTION AND PROCEDURAL HISTORY

       8.     Plaintiff in the above styled cause of action is PATRICIA SWITZER.




                                              2
    Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 3 of 7 PageID #: 3




        9.         LOREN TIMOTHY BEACH (hereinafter "Beach") is a named defendant in

this litigation.

        10.        BEACH TRANSPORT, INC. (hereinafter "Beach Transport") is a named

defendant in this litigation.

        11.        This personal injury suit arises out of an automobile accident that occurred

on January 18, 2016 wherein Plaintiff alleges that the vehicle that she was a passenger

in was struck by 18-wheeler truck being operated by Beach and owned by Beach

Transport. As a result, Plaintiff has sued the Defendants for negligence. Plaintiff has

alleged serious and permanent injuries and seeks monetary relief over $200,000 but not

more than $1,000,000.

        12.        Plaintiff filed her Original Petition on January 4, 2018 and subsequently filed

her First Amended Original Petition on January 12, 2018. Beach first received notice of

this suit via service of process on January 18, 2018. Beach Transport was subsequently

served on or about January 23, 2018. Defendants filed their Original Answer in State

Court on February 9, 2018 and filed a Notice of Removal in the State Court Action on

February 9, 2018. Thus, Defendants file this Notice of Removal within the thirty (30) days

required under 28 U.S.C. § 1446(b).
                                                                                                     I
                                                 Ill.
                                                                                                     f
                                      BASIS FOR REMOVAL                                              I
                                                                                                     I
        13.        Removal of this matter to federal court is proper under 28 U.S.C. § 1332

because there exists complete diversity of citizenship between Plaintiff and Defendants

and the amount in controversy exceeds $75,000. See 28 U.S.C. § 1332; see also Exxon




                                                  3
     Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 4 of 7 PageID #: 4




Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553-54, 125 S.Ct. 2611, 162 L.Ed.2d

502 (2005).

A.     There is complete diversity of citizenship between the Plaintiff and
       Defendants.

       14.     Complete diversity of citizenship exists when all defendants are citizens of

states different from all of the plaintiffs.       See Exxon Mobil Corp., 545 U.S. at 553.

Corporate entities are citizens of the state in which they are incorporated and the state in

which their principal places of business are located. See Howery v. Allstate Ins. Co., 243

F.3d 912, 920 (5th. Cir. 2001 ). Individuals are citizens of the state in which they are

domiciled. See Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571 (5th Cir. 2011 ).

Residency in a state is prima facie evidence that an individual is domiciled there. See id.

Here, upon information and belief, Plaintiff resides and is domiciled in the state of Texas;

and is thus a citizen of that state. In contrast, Defendants are citizens of Minnesota.

       15. ·   In her First Amended Original Petition, Plaintiff acknowledges that Beach is

a "resident citizen" of Minnesota and Beach Transport is a foreign corporation. See

Certified Copy of State Court's Record, Plaintiff's First Amended Petition Original Petition,

pp. 1-2, attached hereto as Exhibit A. Beach Transport's principal place of business is in

North Branch, Minnesota. See Affidavit of Loren Timothy Beach, attached hereto as

Exhibit B. Beach resides and is domiciled in Minnesota with no intent to move his

permanent home outside the state of Minnesota. Id. Accordingly, neither Beach nor

Beach Transport are citizens of Texas. They are in fact a citizen of Minnesota.

       16.     Because Defendants are citizens of Minnesota, and not Texas, there is

complete diversity of citizenship between the Plaintiff and Defendants in this suit. See

U.S.C. § 1332.

                                               4
     Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 5 of 7 PageID #: 5




B.     The amount in controversy exceeds the jurisdictional minimum for this
       Court's diversity jurisdiction.

       17.    Removal is proper under this Court's diversity jurisdiction because the

amount in controversy exceeds $75,000. See 28 U.S.C. § 1332.

       18.    Plaintiff's First Amended Original Petition seeks monetary relief over

$200,000 but not to exceed $1,000,000. Plaintiff claims she has suffered serious and

permanent injuries as the result of the incident made the basis of this lawsuit.

       19.    Accordingly, based on Plaintiff's own assertions and the damages sought,

the amount in controversy at issue exceeds the $75,000 jurisdictional minimum necessary

to invoke the Court's original diversity jurisdiction. See 28 U.S.C. § 1332.

       20.    Copies of all pleadings, process, orders, and other filings in the state court

suit are attached to this notice as required by 28 U.S.C. § 1446 (a). See Exhibit A.

       21.    Venue is proper in this district and division under 28 U.S.C. § 1441 (a)

because the state court where the suit had been pending is located in this district.

       22.    Defendants will promptly file with the Jefferson District Clerk a copy of this

Notice of Removal.

                                            IV.

                                      CONCLUSION

       23.    Removal of Plaintiff's suit is proper because the Defendants are citizens of

Minnesota with its principal place of business in North Branch, Minnesota and the Plaintiff

is a citizen of Texas. Thus, there is complete diversity of citizenship between Defendants

and Plaintiff and the amount in controversy exceeds $75,000.




                                             5
   Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 6 of 7 PageID #: 6




                                    Respectfully submitted,



                                    By: Isl David W. Medack
                                            David W. Medack
                                            State Bar No. 13892950
                                            HEARD & MEDACK, P.C.
                                            9494 Southwest Freeway, Suite 700
                                            Houston, Texas 77074
                                           Telephone: (713) 772-6400
                                            Facsimile: (713) 772-6495
                                            Email: dmedack@heardmedackpc.com

                                    ATTORNEY IN CHARGE FOR DEFENDANTS
                                    LOREN TIMOTHY BEACH and
                                    BEACH TRANSPORT, INC.


Of Counsel:
Amanda M. Berron
State Bar No. 24070720
HEARD & MEDACK, P.C.
9494 Southwest Freeway, Suite 700
Houston, Texas 77074
Telephone: (713) 772-6400
Facsimile: (713) 772-6495
Email: aberron@heardmedackpc.com




                                      6
    Case 1:18-cv-00066-MAC Document 1 Filed 02/09/18 Page 7 of 7 PageID #: 7




                              CERTIFICATE OF SERVICE

       Pursuant to Rule 5(d) of the Federal Rules of Civil Procedure, I hereby certify that
a true and correct copy of the foregoing instrument to which this Certificate is attached
was duly been served upon each party by facsimile, U.S. First Class Mail and/or using
the ECF System for filing and transmittal of a Notice of Electronic Filing pursuant to the
Federal Rules of Civil Procedure on this gth day of February 2018.

       Via Facsimile: (713) 333-1101
       Ronald M. Estefan
       Texas Bar No. 00785851
       The Estefan Law Firm, PC
       2306 Mason Street
       Houston, Texas 77006
       Tel: (713) 333-1100
       Email: ron@ronestefanlaw.com

      Attorney for Plaintiff, Patricia Switzer



                                                 Isl David W. Medack
                                                 David W. Medack




                                             7
